Case 3:19-cv-00054-NKM-JCH Document 33-1 Filed 02/19/20 Page 1 of 6 Pageid#: 637




                    EXHIBIT 1
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                         1HZ$0:$&KDSWHUDWWKH8QLYHUVLW\RI9LUJLQLD²)LUVW(YHQWD6XFFHVV_$PHULFDQ0HGLFDO:RPHQ           638
                                                                                                                          V$VVRFLDWLRQ

                                                                                    -RLQ   /RJLQ   &RQWDFW    'RQDWH       6KRS    +HOS




                        $ERXW      Ć     2XU:RUN       Ć     0HPEHUV           Ć      1HZV (YHQWV   Ć     ([KLELWLRQV   Ć




1HZ$0:$&KDSWHUDWWKH8QLYHUVLW\RI9LUJLQLDy)LUVW
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VWXGHQWVDQGSURYLGHUVFDQIDFHLQWKHZRUNSODFH
DQGVXEVHTXHQWO\HTXLSRXUFODVVPDWHVZLWKWRROV
WRERWKKDQGOHWKHVHLVVXHVLQWKHPRPHQWDVZHOO
DVUHSRUWWKHP:HDSSURDFKHGWKLVLQWZRZD\V
)LUVWZHFROOHFWHGDQRQ\PRXVVWRULHVRIPLFUR
DJJUHVVLRQVJHQGHUKDUDVVPHQWIURPPHGLFDO
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VDGYROXPHRIUHVSRQVHV:HFROOHFWHGDOOWKHVWRULHVDQGSXWXSDGLVSOD\LQRXUVWXGHQW
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DUUDQJHGDSDQHORIWKUHHLQFUHGLEOHIHPDOHIDFXOW\WRVSHDNRQPLFURDJJUHVVLRQVDQGKRZ
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KHUSHUVRQDOUHVHDUFKRQPLFURDJJUHVVLRQV7KLVZDVIROORZHGE\'U1RUD.HUQDQG'U6DUD
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KWWSVZZZDPZDGRFRUJQHZVQHZDPZDFKDSWHUDWWKHXQLYHUVLW\RIYLUJLQLD                                                             
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                         1HZ$0:$&KDSWHUDWWKH8QLYHUVLW\RI9LUJLQLD²)LUVW(YHQWD6XFFHVV_$PHULFDQ0HGLFDO:RPHQ           639
                                                                                                                          V$VVRFLDWLRQ

                                                                                    -RLQ   /RJLQ   &RQWDFW    'RQDWH       6KRS    +HOS




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   ,1)2)250(',&$/678'(176                                                        -RLQ   /RJLQ   &RQWDFW    'RQDWH       6KRS    +HOS




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            -DQXDU\




            +DYLQJD3URGXFWLYH:LQWHU%UHDN
            -DQXDU\




            'HYHORSLQJ5HVLOLHQFHDVD3UHPHGLFDO6WXGHQW
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f$PHULFDQ0HGLFDO:RPHQ V$VVRFLDWLRQ

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